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                             KATHERINE MCNAMARA and
                    16       JEREMY WHITELEY
                    17
                                                UNITED STATES DISTRICT COURT
                    18
                                              CENTRAL DISTRICT OF CALIFORNIA
                    19
                    20       BREAKING CODE SILENCE, a                   Case No. 2:22-cv-02052-MAA
                    21       California 501(c)(3) nonprofit,

                    22                        Plaintiff,                STIPULATED ORDER RE:
                                                                        AMENDED JOINT
                    23              v.                                  E-DISCOVERY PLAN AND
                                                                        PROTOCOL FOR DISCOVERY OF
                    24       KATHERINE MCNAMARA, an                     ELECTRONICALLY STORED
                                                                        INFORMATION
                    25       individual; JEREMY WHITELEY, an
                             individual; and DOES 1 through 50,
                    26       inclusive,
                    27
                                              Defendants.
                    28
DLA P IPER LLP (US)                                                 1
  WW W.DLAPI PE R.CO M                                STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
                                                 PROTOCOL FOR DISCOVERY OF ELECTRONICALLY STORED INFORMATION
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                          1          1.        INTRODUCTION
                          2          Plaintiff and Defendants (collectively, the “Parties”) mutually agree to the
                          3   following protocol (“Protocol”) regarding the discovery of electronically stored
                          4   information (“ESI”) and hard copy documents in the above-captioned case. This
                          5   Protocol is intended to provide for effective and efficient discovery in accordance
                          6   with the Federal Rules of Civil Procedure. Nothing in this Protocol alters either
                          7   Party’s rights, obligations, and responsibilities under the Federal Rules of Civil
                          8   Procedure.
                          9          2.        DEFINITIONS
                     10                        2.1   Action: the above captioned matter, Breaking Code Silence vs.
                     11       Katherine McNamara et al., Case No. 2:22-cv-02052-MAA (C.D. Cal.).
                     12                        2.2   Document: a collection of pages, or a digital file, constituting a
                     13       logical single communication of information produced or inspected as a single
                     14       record pursuant to Federal Rules of Civil Procedure 26 and 34, including hard copy
                     15       and ESI.
                     16                        2.3   Electronically Stored Information or “ESI”: any information or
                     17       data that is originally created, manipulated, or used, communicated, and stored in
                     18       digital format. This definition expressly excludes information that was prepared or
                     19       previously available in hard copy but which converted and now maintained in digital
                     20       format for reasons of business convenience or as otherwise may have been
                     21       necessary.
                     22                        2.4   Native Format: the associated file format defined by the original
                     23       application with which an electronic file was created.
                     24                              2.4.1   Native File: ESI that is stored and produced in the file
                     25       format in which it was originally created, such as .DOCX, .XLSX, .PPTX, etc., as
                     26       opposed to a Processed File.
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                     28
DLA P IPER LLP (US)                                                         2
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1                          2.4.2   Processed File: a Native File that has been processed into
                          2   a .PDF file, a .TIFF file, a .CSV file, a .TXT file, or a similar format used for
                          3   document productions allowing for searchable ESI.
                          4                    2.5   Hard Copy Document: any Document that, in the usual course
                          5   of business, is kept in physical or paper form, as opposed to as ESI.
                          6                    2.6   Metadata: (i) all information embedded in or associated with a
                          7   Native File that is not ordinarily viewable or printable from the application that
                          8   generated, edited, or modified such Native File which describes the characteristics,
                          9   origins, usage or validity of the electronic file or (ii) all information generated
                     10       automatically by the operation of a computer or other information technology
                     11       system when a Native File is created, modified, transmitted, deleted or otherwise
                     12       manipulated by a user of such system.
                     13                        2.7   Bates Number: a page level unique alpha-numeric identifier
                     14       associated with every document produced, including physical sheets of paper,
                     15       electronically stored TIFF images, PDF pages, or other tangible thing, consisting of
                     16       (1) an alphabetic portion identifying the Producing Party and/or other characteristics
                     17       of the production; and (2) a numeric portion incremented according to a scheme
                     18       defined at the Producing Party’s discretion to ensure that the alphanumeric identifier
                     19       for each page of physical sheets of paper, electronically stored TIFF images, or
                     20       other tangible thing is unique. Parties producing Documents as Native Files will
                     21       assign a single Bates number to the Native File, in sequence with the other numbers
                     22       in the production of Documents.
                     23                        2.8   Extracted Text: the text extracted from a Document, and
                     24       includes all header, footer, and document body information when available.
                     25                        2.9   OCR Text: searchable text from a Document generated by
                     26       means of optical character recognition performed using appropriate software.
                     27                        2.10 Load File: an electronic file containing information identifying a
                     28       set of paper-scanned images or Processed Files and indicating where individual
DLA P IPER LLP (US)                                                        3
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1   pages or files belong together as documents, including attachments, and where each
                          2   document begins and ends. A Load File should also contain data relevant to the
                          3   individual Documents, including extracted and user-created Metadata as required by
                          4   Exhibit A.
                          5                    2.11 Forensic Copy or Clone: a bitsream image, i.e., an exact, bit-for-
                          6   bit copy of a digital file storage device, such as, without limitation, computer hard
                          7   drive, mobile device flash memory, USB drives, external hard disk drives, and any
                          8   other device that stores digital data, in which every bit of data is written onto a new
                          9   file storage device.
                     10                        2.12 Discoverable Information: all documents and ESI that are
                     11       discoverable in this litigation pursuant to the Federal Rules of Civil Procedure.
                     12                        2.13 Party: any party to this Action, including all its officers,
                     13       directors, employees, consultants, retained experts, and Outside Counsel (and their
                     14       support staffs).
                     15                        2.14 Custodian: the person from whom a Document was collected.
                     16                        2.15 Non-Custodial Sources: shared data repositories maintained in
                     17       the ordinary course of business and not necessarily associated with the individual
                     18       Custodian(s). Examples of Non-Custodial Sources may include, but are not limited
                     19       to, shared file cabinets, shared network drives or fileservers, electronic document
                     20       management systems, or databases.
                     21                        2.16 Outside Counsel: the attorneys and employees of any external
                     22       law firm representing a Party to this Action.
                     23                        2.17 Producing Party: a Party which is producing Discoverable
                     24       Information.
                     25                        2.18 Receiving Party: a Party which is receiving Discoverable
                     26       Information.
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DLA P IPER LLP (US)                                                          4
  WW W.DLAPI PE R. CO M                                      STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1                    2.19 Privileged Information: Documents or ESI protected from
                          2   disclosure by the attorney client privilege, work production protection, or other
                          3   applicable protections or privileges.
                          4                    2.20 Sensitive Personal Identifying Information (“PII”): includes
                          5   information protected from disclosure by specific laws or standards as well as
                          6   sensitive personal information which is not likely to be relevant to the issues in this
                          7   matter, including:
                          8                          2.20.1 Protected Health Information (“PHI”) includes
                          9   information protected from public disclosure by the Health Insurance Portability and
                     10       Accountability Act of 1996 (“HIPAA”), pursuant to Title 45, Chapter 164 of the
                     11       Code of Federal Regulations;
                     12                              2.20.2 Payment Card Information (“PCI”) that identifies
                     13       payment card details, account numbers of individual customers; and
                     14                              2.20.3 Social Security numbers, driver’s license number, tax
                     15       payer identification numbers, passport numbers, state-issued identification numbers,
                     16       financial account numbers, dates of birth, home address, personal mobile telephone
                     17       number, or personal email address.
                     18              3.        PRESERVATION
                     19                        3.1   What and Whose Devices. Each Party represents that it has
                     20       taken reasonable steps to preserve reasonably accessible sources of ESI with respect
                     21       to the Custodians set forth in paragraph 4.3 and the data sources set forth in
                     22       paragraph 4.4
                     23                        3.2   Interdiction of any Document Destruction Program. To the
                     24       extent the Parties have not already done so, they agree to disable any automatic
                     25       deletion program with respect to discoverable sources of ESI.
                     26                        3.3   Preservation Does Not Affect Discoverability or Claims of
                     27       Privilege. By preserving documents or ESI for the purposes of this Action, the
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DLA P IPER LLP (US)                                                        5
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1   Parties are not conceding that such material is discoverable, nor are they waiving
                          2   any claim of privilege.
                          3          4.        SEARCH PROTOCOL
                          4                    4.1   Production in Accordance with Federal Rules. The Parties agree
                          5   to identify, collect, and produce responsive documents and ESI in accordance with
                          6   the Federal Rules of Civil Procedure.
                          7                    4.2   Date Range. The Parties agree that the applicable date range for
                          8   ESI searches is February 1, 2020 through the present.
                          9                    4.3   Custodians. Plaintiff designates Vanessa Hughes, Jennifer
                     10       Magill, Katherine McNamara, and Jeremy Whiteley as Custodians whose ESI it will
                     11       search. Defendants designate Breaking Code Silence (“BCS”), Vanessa Hughes,
                     12       Jennifer Magill, Jesse Jensen, Noelle Beauregard, Lenore Silverman, Eugene
                     13       Furnace, the entire BCS Board of Directors, Bobby Cook, Megan Hurwitt, Arianna
                     14       Conroyd, Shelby Kirchoff and anyone else who had administrative permissions on
                     15       the website or any of BCS’s accounts or systems at the time the alleged hacking
                     16       took place.
                     17                        4.4   Data Sources. The Parties agree that the data sources include the
                     18       following, so long as they are in the possession, custody, or control of any of the
                     19       Parties and reasonably accessible: E-mail accounts, cell phones, Facebook
                     20       accounts, Twitter accounts, Skype accounts, and Slack accounts, Google Drives, cell
                     21       phones (including any backups of the cell phones and all personal and BCS-
                     22       controlled computing devices of Vanessa Hughes, Jennifer Magill, Jesse Jensen,
                     23       Bobby Cook, Katherine McNamara, and Jeremy Whiteley), text messages, Apple
                     24       Messages, computers, Zoom accounts, Hootsuite logs, Hootsuite audit data,
                     25       Hootsuite billing history, Instagram logs, Instagram audit history, PayPal audit logs,
                     26       Slack audit logs, server logs, Cloudways databases, server and audit and access logs
                     27       (including all backups of the Cloudways web server 90 days before and after the
                     28       alleged incidents), WordPress databases, server and audit and access logs (including
DLA P IPER LLP (US)                                                        6
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1   all backups of the Wordpress files 90 days before and after the alleged incidents),
                          2   WhatsApp chat logs, Telegram chat logs, Google admin audit logs, AdWords audit
                          3   logs, iCloud, Box.net, Google admin security logs, system logs, TikTok audit logs,
                          4   Facebook messages, Facebook audit logs for BCS page, YouTube audit logs, Signal
                          5   chatlogs and any other tech-based communications exchanged between the
                          6   custodians pertinent to this matter or the alleged hacking incident.
                          7          To the extent a Party determines that any source is outside its possession,
                          8   custody, or control or reasonably searchable and/or accessible, the Parties agree to
                          9   meet and confer regarding any such source, and if no agreement is reached, any
                     10       Party may submit the issue to the Court.
                     11                        4.5   Searching ESI for Responsive Information. Each Producing
                     12       Party shall design and implement the industry standard and approved methods it
                     13       uses to identify, cull, and review its potentially responsive ESI based on its
                     14       knowledge and understanding of its own data, the facts and issues involved in the
                     15       Action, and the Receiving Party’s discovery requests. Before conducting a
                     16       document collection and review, the Parties will exchange the search terms they
                     17       intend to use to identify potentially relevant documents for production, and will
                     18       meet and confer regarding any requested revisions. The Producing Parties also have
                     19       the right to utilize predicative coding or technology assisted review, filters, email
                     20       threading, or other analytics to identify and review potentially responsive ESI to
                     21       identify relevant Documents. A Producing Party may also conduct a targeted
                     22       collection of sources likely to contain responsive materials (e.g., file folders on a
                     23       given hard drive). In the event one Party has a good faith belief the other Party has
                     24       violated this Order, the Parties agree to mutually disclose the methods used to
                     25       identify and cull potentially responsive ESI, including but not limited to search term
                     26       syntax, sources searched, predictive coding, technology assisted review or other
                     27       analytics.
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DLA P IPER LLP (US)                                                       7
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
                                                       PROTOCOL FOR DISCOVERY OF ELECTRONICALLY STORED INFORMATION
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                          1          5.        NOT REASONABLY ACCESSIBLE ESI
                          2                    5.1   Not Reasonably Accessible ESI. The Parties need not preserve,
                          3   collect, produce, or identify on a privilege log the following categories of ESI for
                          4   this Action:
                          5                    (a)   With the exception of the Cloudways and Wordpress server
                          6          backups, server logs, application logs and the other backups of data sources
                          7          identified in Section 4.4 above (to the extent they are reasonably accessible),
                          8          data stored in backup system for purposes of system recovery or information
                          9          recovery, including but not limited to, disaster recovery back up tapes,
                     10              continuity of operations systems, and data or system mirrors or shadows
                     11              except to the extent that such sources are known to be the only sources of
                     12              Discoverable Information;
                     13                        (b)   Common system and program files as defined by the NIST
                     14              library (which is commonly used by discovery vendors to exclude system and
                     15              program files from document review and production) need not be processed,
                     16              reviewed, or produced.
                     17                        (c)   Deleted, erased, or overwritten computer files, whether
                     18              fragmented or whole which were deleted in the regular course of business
                     19              before there was a duty to preserve ESI.
                     20                        (d)   Data stored in random access memory (“RAM”), cache memory,
                     21              or in temporary or cache files, includes internet history, web browser cache
                     22              and cookie files wherever located.
                     23                        (e)   Data stored on photocopiers, scanners, and fax machines;
                     24                        (f)   Server, system, or network logs, except as set forth in Section 4.4
                     25              or 5.1(a).
                     26                        5.2   Other Types of ESI May Not Be Reasonably Accessible.
                     27       Nothing in this Protocol prevents any Party from asserting, in accordance with the
                     28
DLA P IPER LLP (US)                                                         8
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
                                                       PROTOCOL FOR DISCOVERY OF ELECTRONICALLY STORED INFORMATION
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                          1   Federal Rules of Civil Procedure, that other categories of ESI are not reasonably
                          2   accessible within the meaning of Rule 26(b)(2)(B).
                          3          6.        PROPORTIONALITY
                          4                    6.1   The Parties agree to take into account the proportionality
                          5   considerations addressed in Federal Rules of Civil Procedure for purposes of
                          6   preservation and production of ESI and hard copy documents in this Action. This
                          7   Protocol is not intended to expand the Parties’ obligations under Federal Rules of
                          8   Civil Procedure 1, 26, and 34.
                          9                    6.2   The Parties agree to meet and confer regarding any
                     10       disagreements that arise as a result of the implementation of this Protocol.
                     11              7.        PHASING
                     12                        7.1   The Parties agree to phase ESI production as follows:
                     13              Phase I: The Parties will immediately produce all Hard Copy Documents
                     14       responsive to any Requests for Production of Documents previously propounded
                     15       prior to the date of this Stipulated Order.
                     16              Phase II: The Parties will produce, on a rolling basis, ESI from the data
                     17       sources and Custodians identified in paragraphs 4.3 and 4.4.
                     18              Phase III: To the extent that a Party requests that the other Party search
                     19       additional data sources or Custodians, the Parties agree to meet and confer regarding
                     20       any such request.
                     21              8.        PRODUCTION
                     22                        8.1   Production Format and Metadata. Where practicable, the Parties
                     23       shall produce documents and ESI, including metadata, according to the format
                     24       specified in Exhibit A, attached hereto. To the extent a Producing Party reasonably
                     25       expects production of specific documents or ESI in the format described in Exhibit
                     26       A will be impractical or unduly burdensome, the Parties will meet and confer in
                     27       good faith to attempt to agree on an acceptable format for production pursuant to
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DLA P IPER LLP (US)                                                         9
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1   Federal Rule of Civil Procedure 34(b)(2)(E). The Parties will transmit production
                          2   files digitally, via download from a password-protected file-store.
                          3                    8.2   Privacy Redactions. Producing Parties may redact Protected
                          4   Personally Identifying Information from responsive Documents prior to production.
                          5   If Personally Identifying Information is redacted, the Producing Party will label the
                          6   redactions as “Redacted-PII.” Any Receiving Parties who receive Documents
                          7   including Protected Personally Identifying Information shall treat such documents as
                          8   Confidential pursuant to the Stipulated Protective Order entered in this matter.
                          9                    8.3   Deduplication. Producing Parties will not remove duplicate ESI
                     10       from their respective productions.
                     11                        8.4   Review and Production of Hard Copy Documents. Each
                     12       Producing Party is entitled to collect, scan, and review its hard copy documents
                     13       before producing only those documents which are responsive and not privileged or
                     14       subject to other protection in the document production format described in Exhibit
                     15       A.
                     16              9.        PRIVILEGE
                     17                        9.1   Non-Waiver. Pursuant to Fed. R. Evid. 502(d), the production of
                     18       a privileged or work-product-protected document, whether inadvertent or otherwise,
                     19       is not a waiver of privilege or protection from discovery in this case or in any other
                     20       federal or state proceeding. For example, the mere production of privileged or work-
                     21       product-protected documents in this case as part of a mass production is not itself a
                     22       waiver in this case or in any other federal or state proceeding.
                     23                        9.2   Privilege Logs. The parties shall comply with the Federal Rules
                     24       of Civil Procedure regarding the production of privilege logs, as set forth more fully
                     25       below. With the exception of those materials described in paragraph 9.3 that need
                     26       not be logged, any document falling within the scope of any request for production
                     27       or subpoena that is withheld on the basis of a claim of privilege, work product, or
                     28       any other legal privilege is to be identified by the Producing Party in a privilege log,
DLA P IPER LLP (US)                                                       10
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1   which the Producing Party shall produce in an electronic format (i.e., Excel format)
                          2   that allows text searching, sorting, and organization of data.
                          3                    9.3   The parties may elect to produce a categorical privilege log, a
                          4   metadata privilege log, or a log in any other format, provided that the parties include
                          5   the information required by Fed. R. Civ. P. 26(b)(5) in a manner that will enable the
                          6   Receiving party to assess the claim.
                          7                    9.4   No privilege log entries shall be required as to the following
                          8   categories of materials, and any applicable privilege or protection shall be preserved
                          9   even if such materials are not listed on a Producing Party’s privilege log:
                     10                        (a)   Attorney-client communications between a party and its counsel
                     11              after the start of litigation as to that party. For purposes of this Order only, the
                     12              litigation is deemed to have started on the day that a party first consulted an
                     13              attorney regarding any of the issues out of which this lawsuit arises.
                     14                        (b)   Attorney work product created after the Party’s retention of
                     15              counsel.
                     16                        (c)   Internal communications within a law firm or the legal
                     17              department of a party after the start of litigation.
                     18                        (d)   Documents and communications between outside counsel or
                     19              outside counsel and in-house counsel for the parties after the start of the
                     20              litigation.
                     21                        (e)   Documents and communications between and/or among outside
                     22              counsel that has been retained by a party to this litigation and the party,
                     23              litigation technology consultants or providers, any non-testifying experts, and,
                     24              with respect to information protected by Fed. R. Civ. P. 26(b)(4), testifying
                     25              experts.
                     26                        (f)   Communications between Parties and their respective spouses.
                     27                        (g)   Documents and Communications between Parties and their
                     28              respective medical providers.
DLA P IPER LLP (US)                                                        11
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1                    (h)   Tax returns and related documents.
                          2                    (i)   Privilege redactions made on the face of produced documents,
                          3          provided that the redaction clearly indicates that privilege is being asserted
                          4          and the context of the document enables the Receiving party to reasonably
                          5          assess the claim.
                          6          10.       FORENSIC EXAMINATION
                          7                    10.1 If any Party requests a Forensic Copy of the entirety of a device
                          8   or drive with potentially responsive or relevant data, files, or information for the
                          9   purpose of a forensic examination, the independent third-party examiner retained by
                     10       the Party requesting the Forensic Copy or Copies will be given access to the device
                     11       or drive for the purpose of making the Forensic Copy or Copies upon reasonable
                     12       notice during regular business hours. The Party requesting the Forensic Copy or
                     13       Copies shall bear the cost of the creation and storing of the Forensic Copy or
                     14       Copies. The Parties will ensure the Forensic Copy or Copies remain(s) intact and
                     15       accessible throughout the duration of this litigation and any appeals thereto.
                     16                        10.2 The Parties will meet and confer if any party believes that a
                     17       forensic examination of any device(s) is necessary to recover latent data (e.g.,
                     18       deleted or partially overwritten data). If the Parties agree that a forensic examination
                     19       is appropriate, they will select a third-party neutral qualified to perform the forensic
                     20       examination. The neutral will prepare a detailed forensic examination protocol for
                     21       each type of device to be examined. The Parties will meet and confer to resolve any
                     22       objections to the protocol. Each Party will receive a complete copy of all forensic
                     23       images and any accompanying report prepared by the neutral. If the Parties are
                     24       unable to agree on either the need for a forensic examination or any part of the
                     25       protocol prepared by the third-party neutral, the Party requesting the forensic
                     26       examination or objecting to the protocol shall file a motion within 10 days of the
                     27       parties’ conference, including a written statement by each party of its position
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DLA P IPER LLP (US)                                                        12
  WW W.DLAPI PE R. CO M                                     STIPULATED ORDER RE: AMENDED JOINT E-DISCOVERY PLAN AND
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                          1   concerning the matter. The cost of any forensic examination will be borne by the
                          2   Party requesting it unless otherwise ordered by the Court.
                          3          11.       MODIFICATION
                          4          This Stipulated Order may be modified by a Stipulated Order of the parties or
                          5   by the Court for good cause shown.
                          6          IT IS SO STIPULATED, through Counsel of Record.
                          7
                          8   Dated: September 6, 2022             /s/ Tamany J. Vinson Bentz
                          9                                        Counsel for Plaintiff
                     10                                            /s/ Catherine Close
                     11                                            Counsel for Defendants
                     12
                                     IT IS SO ORDERED that the foregoing Stipulation is approved.
                     13
                     14       Dated: ______________, 2022
                     15                                                     HON. MARIA A. AUDERO

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DLA P IPER LLP (US)                                                    13
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                          1                                           EXHIBIT A
                          2                                       Production of Data
                          3   I.     Hard Copy Documents:
                          4          1.        All hard copy documents should be scanned and produced as single-
                          5   page, Group IV, 300 DPI TIFF images with an image load file (.OPT file and/or
                          6   .LFP file) and a delimited database/metadata load file (.DAT). The
                          7   database/metadata load file should contain the metadata fields listed below in
                          8   Section I.A. All documents are to be provided with per document searchable text
                          9   (.TXT) files that contain full text extraction. In the event a document is scanned into
                     10       TIFF format, the text file should contain that document’s OCR text. the OCR
                     11       software should maximize text quality over process speed. Settings such as “auto-
                     12       skewing” and “auto-rotation” should be turned on during the OCR process.
                     13              2.        All image files and text files shall be named the same as the starting
                     14       bates number for each document. Each TIFF image shall be endorsed with bates
                     15       numbers that increment by one for each page.
                     16              3.        The documents should be logically unitized (i.e., distinct documents
                     17       should not be merged into a single record, and a single document should not be split
                     18       into multiple records) and should be produced in the order in which they are kept in
                     19       the usual course of business. The text and image load files should indicate page
                     20       breaks. The Producing Party is not required to unitize if the documents are not kept
                     21       that way in the ordinary course of business.
                     22              4.        Documents shall be produced as black and white TIFF images. Upon
                     23       written request, a party shall produce color images for a reasonable number of
                     24       selected documents. Documents produced in color shall be produced as single page,
                     25       300 DPI, color JPG images with the quality setting 75% or higher. Each color
                     26       document image file shall be named with the unique Bates Number of the first page
                     27       of the document in question followed by the file extension JPG. This includes, but is
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                          1   not limited to, color on graphs, charts, presentations, edits, or highlights that were
                          2   made by hand, or electronically, on the original.
                          3          5.        Database/Metadata Fields for Hard Copy Documents:
                          4   1.     Production Number Begin
                          5   2.     Production Number End
                          6   3.     Production Attachment Range Number Begin
                          7   4.     Production Attachment Range Number End
                          8   5.     Confidentiality Designation
                          9   6.     Production Doc Page Count
                     10       7.     All Custodians
                     11       8.     Source
                     12       9.     Volume
                     13       II.    Electronically Stored Information:
                     14              6.        With the exception of Section VII, below, all Electronically Stored
                     15       Information (“ESI”) that is deemed responsive and not privileged is to be produced
                     16       in 300 DPI Group IV black and white Tagged Image File Format (.TIFF or .TIF)
                     17       files. The TIFF files shall be produced in single-page format along with image load
                     18       files (.OPT file and/or .LFP file). Document images should reveal or show all
                     19       hidden information. Upon written request, a party shall produce color images for a
                     20       reasonable number of selected documents. Documents produced in color shall be
                     21       produced as single page, 300 DPI, color JPG images. with the quality setting 75% or
                     22       higher. Each color document image file shall be named with the unique Bates
                     23       Number of the first page of the document in question followed by the file extension
                     24       JPG.
                     25              7.        Any document that cannot be converted to TIFF format shall be
                     26       represented in the production with a placeholder TIFF image that bears the legend
                     27       “This document cannot be converted to TIFF,” along with its corresponding
                     28       metadata in the Concordance DAT file.
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                          1           8.       During the process of converting ESI from the electronic format of the
                          2   application in which the ESI is normally created, viewed and/or modified to TIFF,
                          3   metadata values should be extracted and produced in the database/metadata load
                          4   file.
                          5           9.       The metadata values that are to be extracted and produced in the
                          6   database load files (.DAT file using concordance standard delimiters) are those
                          7   maintained in the usual course of business and are identified in Section XII.
                          8           10.      No Party will have the obligation to manually generate information to
                          9   populate metadata fields if such fields cannot be reasonably extracted or generated
                     10       from the document using an automated process, except that parties will generate
                     11       Confidentiality, Bates fields, and Native/Text Link fields. The Producing Party may
                     12       redact or remove from production protected or privileged metadata.
                     13               11.      To the extent reasonably available, the “Custodian” fields with respect
                     14       to ESI gathered from an individual’s hard drive will provide metadata sufficient to
                     15       identify the individual custodian from whose hard drive such ESI has been gathered.
                     16       III.    Families of Documents:
                     17               12.      For any documents that contain an attachment (for example, email), to
                     18       the extent available, the fields listed in Section XII should be produced as part of the
                     19       metadata load file for both the parent and child documents.
                     20               13.      To the extent a document is part of a “document family” with a
                     21       combination of responsive, privileged, and/or non-responsive documents: (i) the
                     22       privileged documents will be represented in the production with a placeholder TIFF
                     23       image that bears the legend “Document Withheld as Privileged”; and (ii) the non-
                     24       responsive documents will be represented in the production with a placeholder TIFF
                     25       image that bears the legend “Non-Responsive Document.” The TIFF image(s) shall
                     26       be endorsed with a sequential Bates number.
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                          1   V.     Handwritten Notes or Other Alterations:
                          2          14.       If there are any handwritten notes, or any other markings, on a
                          3   document, it shall not be considered a duplicate. Any document that contains an
                          4   alteration, marking on, or addition to the original document shall be treated as a
                          5   distinct version, and shall be produced as such. These alterations include, but are not
                          6   limited to, handwritten notes, electronic notes/tabs, edits, highlighting or redlining.
                          7   If such markings/alterations are made in color, the documents shall be produced in
                          8   color upon reasonable request.
                          9          15.       If the producing party becomes aware of any file that was incorrectly
                     10       filtered during the de-duplication process, the producing party shall promptly notify
                     11       the other party and produce the incorrectly filtered file.
                     12       VI.    Last-in-time Production:
                     13              16.       A party may produce a single copy of a responsive document insofar as
                     14       no non-duplicative information is lost as a result. For emails with attachments, the
                     15       hash value is generated based on the parent/child document grouping. A party may
                     16       also de-duplicate email threads as follows: in an email thread, only the last-in-time
                     17       portion of the thread that is relevant needs to be produced if all previous emails in
                     18       the thread are contained within the final message(s). Where an email is not last-in-
                     19       time and contains an attachment, that email and its attachment shall be produced if
                     20       relevant and non-privileged.
                     21       VII. Production of Excel, Other Spreadsheets and PowerPoints:
                     22              17.       Excel spreadsheets, CSV files, and other spreadsheet type files shall be
                     23       produced in native format with a TIFF placeholder bearing the legend “Produced in
                     24       Native File Format.” The TIFF image shall be endorsed with a sequential Bates
                     25       number and the produced native file named to match this Bates number. The
                     26       metadata load file shall contain a link to the produced native file via data values
                     27       called “Native Link.” The Native Link values should contain the full directory path
                     28       and file name of the native file as contained in the produced media.
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                          1          18.       To the extent MS-Excel spreadsheets contain information subject to a
                          2   claim of privilege they should be redacted natively, and the redacted native copy
                          3   should be produced in accordance with Paragraph 14.
                          4          19.       PowerPoint files shall be imaged with speaker notes showing in the
                          5   image, as well as any hidden content displayed in the image. The Producing Party
                          6   may produce PowerPoint files in native format with a TIFF placeholder bearing the
                          7   legend “Produced in Native File Format.” The TIFF image shall be endorsed with a
                          8   sequential Bates number and the produced native file named to match this Bates
                          9   number. The metadata load file shall contain a link to the produced native file via
                     10       data values called “Native Link.” The Native Link values should contain the full
                     11       directory path and file name of the native file as contained in the produced media.
                     12       VIII. Production of Database or Structured Data:
                     13              20.       If a database or other source of structured data contains responsive
                     14       information, the parties will produce reports or exports from those data sources in a
                     15       reasonable usable electronic file to the extent practicable. Otherwise, the parties
                     16       may meet and confer regarding such format of production.
                     17       IX.    Production of Audio and Video Files:
                     18              21.       If audio and/or video recordings are responsive, the parties should meet
                     19       and confer to determine a mutually agreeable format for producing the audio and/or
                     20       video recording. Before meeting and conferring, the producing party will have
                     21       information sufficient to identify responsive audio and/or video recordings.
                     22       X.     Bates Numbering:
                     23              22.       Bates number and any confidentiality designation should be
                     24       electronically branded on each produced TIFF image of ESI but should not be
                     25       included in the extracted text of ESI, unless the document is a scanned copy of a
                     26       hard copy document, or the document has been redacted. For documents produced
                     27       in native format, the original file name and the Bates number for each native file
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                          1   shall be produced, and the native files shall be named the same as the starting Bates
                          2   number for that document or file.
                          3   XI.    Redactions:
                          4          23.       In accordance with the Stipulated Protective Order entered for this
                          5   matter, each redaction on a document shall be completed using white or colored
                          6   boxes that contain the word “Redacted” at the point of each redaction on each page
                          7   of the redacted document. The redacted image file should be produced along with
                          8   OCR text of the redacted file. If metadata displayed in the imaged document was
                          9   redacted, then that metadata should be excluded from the load file. The reason for
                     10       redaction (privilege, privacy, non-responsive business information etc.) shall be
                     11       provided on the face of the redaction or in accompanying metadata.
                     12       XII. Metadata Fields:
                     13        Field Name      Description                             Example / Format
                     14        PRODBEG         The Document ID                         ABC0000001
                                               number of first page of
                     15                        the document.
                     16        PRODEND         The Document ID                         ABC0000003
                                               number of the last page
                     17                        of a document.
                     18        PROD BEGATTACH The Document ID                          ABC0000001
                                               number of the first page
                     19                        of the parent document.
                     20        PROD            The Document ID                         ABC0000008
                               ENDATTACH       number of the last page
                     21                        of the last attachment.
                     22        CONFIDENTIALITY The level of                            Confidential, Highly
                               DESIGNATION     confidentiality assigned                Confidential
                     23                        to the document by
                     24                        Counsel
                               PGCOUNT         The number of pages in a                Numeric
                     25                        document. (image
                     26                        records)
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DLA P IPER LLP (US)                                                        19
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                          1    Field Name           Description                  Example / Format
                          2    ALL CUSTODIANS       All of the custodians /      Smith, Joe; Doe, Jane
                                                    sources of a document
                          3                         from which the
                          4                         document originated.
                               EMAIL SUBJECT        The subject line of the e-
                          5                         mail.
                          6    EMAIL AUTHOR /       The display name and e-      Joe Smith
                               FROM                 mail of the author of an     <jsmith@email.com>
                          7                         e-mail.
                          8    EMAIL                The display name and e-      Joe Smith
                               RECIPIENTS / TO      mail of the recipient(s)     <jsmith@email.com>;
                          9                         of an e-mail.                tjones@email.com
                     10        EMAIL CC             The display name and e-      Joe Smith
                                                    mail of the copy(ies) of     <jsmith@email.com>;
                     11                             an e-mail.                   tjones@email.com
                     12        EMAIL BCC            The display name and e-      Joe Smith
                                                    mail of the blind            <jsmith@email.com>;
                     13                             copy(ies) of an e-mail.      tjones@email.com
                     14        EMAIL                The number of                Numeric
                               ATTACHMENT           attachments to a parent.
                     15        COUNT
                     16        EMAIL                The original file name of Attach1.doc
                               ATTACHMENT           attached record.
                     17        NAME
                     18        RECEIVEDDATE         The date the document        MM/DD/YYYY
                                                    was received.
                     19        RECEIVED TIME        The time the document        HH:MM
                     20                             was received.
                               SENT DATE            The date the document        MM/DD/YYYY
                     21
                                                    was sent.
                     22        SENT TIME            The time the document        HH:MM
                                                    was sent.
                     23
                               TIME OFFSET          The time zone that the       PST, CST, EST, etc.
                     24        VALUE /              data is set to when
                               TIMEZONE             processed.
                     25
                               PROCESSED
                     26        FILE NAME            The file name of a native Document Name.xls
                                                    document.
                     27
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DLA P IPER LLP (US)                                                 20
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                          1    Field Name          Description                  Example / Format
                          2    FILE AUTHOR         The author of a              jsmith
                                                   document from extracted
                          3                        metadata.
                          4    DOC TITLE           The extracted title of the   Table of Contents
                                                   document.
                          5    FILE MANAGER /      Native file application.     Microsoft Excel, Word, etc.
                          6    APPLICATION
                               DESCRIPTION
                          7    FILE EXTENSION   The file extension of a         XLS
                          8                     document.
                               FILE CREATE      The date the document           MM/DD/YYYY
                          9    DATE             was created.
                     10        FILE CREATE TIME The time the document           HH:MM
                                                was created.
                     11        FILE LAST        The date the document           MM/DD/YYYY
                     12        MODIFICATION     was last modified.
                               DATE
                     13
                     14        FILE LAST SAVED     The last individual to       jsmith
                               BY                  save the file.
                     15
                     16        DATE                Date of calendar             MM/DD/YYYY
                               APPOINTMENT         appointment entry.
                     17        START
                     18        TIME                Start time of calendar       HH:MM
                               APPOINTMENT         appointment entry.
                     19
                               START
                     20        DATE                End date of calendar         MM/DD/YYYY
                               APPOINTMENT         appointment entry
                     21
                               END
                     22        TIME                End time of calendar         HH:MM
                               APPOINTMENT         appointment entry.
                     23
                               END
                     24        FILESIZE            The file size of a           Numeric
                                                   document (including
                     25
                                                   embedded attachments).
                     26
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                          1    Field Name         Description                 Example / Format
                          2    FILE PATH /        Location of the original    Joe Smith/E-mail/Inbox Joe
                               ORIGINAL PATH      document / location in      Smith/E-mail/Deleted Items
                          3                       the ordinary course of
                          4                       business. This field
                                                  should be populated for
                          5                       email and e-files.
                          6    MD5HASH            The MD5 Hash value or
                                                  de-duplication key
                          7                       assigned to a document.
                          8    NATIVELINK         The full path to a native   D:\NATIVES\ABC000001.xls
                                                  copy of a document.
                          9    TEXTLINK           The full path to a text     D:\TEXT\ABC000001.txt
                     10                           copy of a document.

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